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AO 91 (Rev.        ) Criminal Complaint


                                          UNITED STATES DISTRICT COURT
                                                               for the
                                                  Eastern District of Michigan
                                                                                     &DVHíPMí
United States of America
                                                                                     $VVLJQHG7R8QDVVLJQHG
   v.
                                                                                     $VVLJQ'DWH
                                                                         Case No.    'HVFULSWLRQ5(6($/('0$77(5
Dorian Trevor SYKES
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                                                    CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

           On or about the date(s) of          March 6 and March 12, 2025        in the county of Oakland, Macomb and in the
         Eastern           District of       Michigan      , the defendant(s) violated:
                    Code Section                                         Offense Description

18 U.S.C. § 2113(a) and (b)                             Bank Robbery and incidental crimes




           This criminal complaint is based on these facts:




        Continued on the attached sheet.
                                                                                          Complainant’s signature

                                                                     Task Force Officer Matthew Willard - FBI
                                                                                           Printed name and title
Sworn to before me and signed in my presence



Date:         March 14, 2025                                                                                Judge’s signature

City and state: Detroit, Michigan                                            Hon. 'DYLG5*UDQGU.S. Magistrate Judge
                                                                                           Printed name and title
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    AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

     I, Matthew Willard, Task Force Officer with the Federal Bureau of

Investigation, being duly sworn, hereby depose and state as follows:

                          I.    INTRODUCTION

     1.    I have been a Task Force Officer assigned to the FBI

Macomb County Gang and Violent Crime Task Force since 2015. I have

been employed as a police officer for the City of Sterling Heights,

Michigan since 2007. I have investigated federal violations concerning

crimes of violence and firearms. I have gained experience through

training and everyday work related to these types of investigations. I

have personally investigated or assisted other law enforcement officers

in their investigations of crimes of violence.

     2.    The facts in this affidavit come from my personal

observations, training, experience, and information obtained from law

enforcement officers and witnesses. I have not included every fact

known to law enforcement concerning this investigation. I have only set

forth the facts necessary to establish probable cause that DORIAN

TREVOR SYKES (XX/XX/1983) violated 18 U.S.C. §§ 2113(a) and (b)

(bank robbery and incidental crimes) on March 6 and 12, 2025.



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                       II.   PROBABLE CAUSE

     3.    On March 6, 2025, at approximately 11:50 A.M., a black

male entered Credit Union One in Sterling Heights, Michigan,

approached the teller counter and retrieved a piece of paper from a

folder and handed it to the teller. After the teller was not able to read

the note, the subject stated, “This is a robbery,” and demanded that the

teller give him “big bills”. The teller handed the robber approximately

$10,169.00. The robber grabbed the money and the note and fled the

bank.

     4.    Credit Union One is insured by the National Credit Union

Administration.

     5.    A witness in the area advised law enforcement that an

individual matching the robber’s description drove a black crossover

vehicle, possible a Mercedes sedan.

     6.    Law enforcement recovered latent fingerprints, believed to

be belonged to the robber, from the entry door of the Credit Union, and

submitted them to Oakland County Sherriff’s Office Crime Lab for

comparison. The lab result indicates that the fingerprints match those

of SYKES, whose physical description also matches the robber’s.



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Additionally, in October 2024, SYKES received a traffic citation in a

black Mercedes sedan.

     7.    On March 12, 2025, at 4:40 P.M, a black male entered the

Chase Bank in Lathrup Village, Michigan. He approached the teller and

provided her a withdraw slip, which stated, “Give me all the money… I

have a gun… I will kill everyone in here.” The robber also pointed to his

right side, implying that he had a weapon. The teller handed the robber

approximately $3,400. The robber took the money and left the bank.

The March 12 robber’s physical description matches that of the March 3

robber.

     8.    Chase Bank is insured by the Federal Deposit Insurance

Corporation.

     9.    Surveillance camera from a residence near Chase Bank show

an individual matching the robber’s description running behind a

condominium complex and entered a parked white Rolls Royce SUV.

     10.   SYKES is on federal supervised release since February 2024,

arising out of a conviction associated with a bank robbery in 2020.

SYKES’s probation officer confirmed that SYKES drove a black

Mercedes sedan and last contacted the probation officer using the phone



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number ending with 9235. Open source confirmed that this number is

subscribed to SYKES with Metro PCS/T-Mobile as the provider.

SYKES’s probation agent further advised that he has stayed at the

MGM hotel and that SYKES stated that he has been receiving vouchers

from MGM to stay there for free.

     11.   Record provided by T-Mobile pursuant to a state search

warrant showed that the device assigned with the 9235 number utilized

a cellular tower near Credit Union One at the time of the robbery on

March 6, 2025. T-Mobile records, including specialized location

information, also put the device assigned with the 9235 number near

Chase Bank around the time of the March 12, 2025 robbery.

     12.   On March 12, at approximately 7:43 P.M., officers surveilled

MGM, which confirmed SYKES is a hotel guest. Officer saw SYKES,

who matched the robber’s physical description, drove a Rolls Royce

SUV. T-Mobile records also confirmed that the device assigned with the

9235 number being in the area of MGM at the time the officers saw

SYKES.




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      13.   Law enforcement maintained the surveillance of the Rolls

Royce SUV driven by SYKES. When officers attempted a traffic stop,

the vehicle fled.

                          III. CONCLUSION

      14.   Based on the above, probable cause exists that DORIAN

TREVOR SYKES (XX/XX/1983) violated 18 U.S.C. §§ 2113(a) and (b)

(bank robbery and incidental crimes).

                                Respectfully submitted,


                                ____________________________
                                Matthew Willard, Task Force Officer
                                Federal Bureau of Investigation

Sworn to before me and signed in my presence
and/or by reliable electronic means.



HON. DAVID R. GRAND
UNITED STATES MAGISTRATE JUDGE

Date: March 14, 2025




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